      Case
      Case3:07-cv-05944-SC
           3:07-cv-05944-JST Document2398-1
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 1
                                  UNITED STATES DISTRICT COURT
 2
                               NORTHERN DISTRICT OF CALIFORNIA
 3
                                       SAN FRANCISCO DIVISION
 4
     IN RE CATHODE RAY TUBE (CRT)                         No. 07-cv-5944-SC
 5   ANTITRUST LITIGATION                                 MDL No. 1917
 6                                                        [PROPOSED] ORDER GRANTING
     This Document Relates to:                            ADMINISTRATIVE MOTION TO FILE
 7                                                        UNDER SEAL
     Electrograph Systems, Inc., et al. v. Technicolor
 8   SA, et al., No. 13-cv-05724;
 9
     Alfred H. Siegel, as Trustee of the Circuit City
10   Stores, Inc. Liquidating Trust v. Technicolor
     SA, et al., No. 13-cv-00141;
11
     Best Buy Co., Inc., et al. v. Technicolor SA, et
12   al., No. 13-cv-05264;
13
     Interbond Corporation of America v.
14   Technicolor SA, et al., No. 13-cv-05727;

15   Office Depot, Inc. v. Technicolor SA, et al., No.
     13-cv-05726;
16
     Costco Wholesale Corporation v. Technicolor
17
     SA, et al., No. 13-cv-05723;
18
     P.C. Richard & Son Long Island Corporation,
19   et al. v. Technicolor SA, et al., No. 31:cv-
     05725;
20
     Schultze Agency Services, LLC, o/b/o Tweeter
21
     Opco, LLC, et al. v. Technicolor SA, Ltd., et al.,
22   No. 13-cv-05668;

23   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
24
     Target Corp. v. Technicolor SA, et al., No. 13-
25   cv-05686
26

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28
     [PROPOSED] ORDER GRANTING THOMSON                                        No. 07-5944-SC; MDL No. 1917
     SA’S ADMINISTRATIVE MOTION TO FILE
     UNDER SEAL
          Case
          Case3:07-cv-05944-SC
               3:07-cv-05944-JST Document2398-1
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 1          Upon consideration of Thomson SA’s Administrative Motion to Seal portions of its

 2   Reply in Support of Its Motion to Dismiss Newly Filed Direct Action Plaintiffs’ (“DAPs”)

 3   Complaints, the Declaration of Jeffrey S. Roberts in support thereof, and good cause appearing

 4   therefore:

 5          The Court hereby GRANTS Thomson SA’s motion to seal and orders that the portions of

 6   Thomson SA’s Reply in Support of Its Motion to Dismiss Newly Filed DAPs’ Complaints that

 7   reference Exhibits A through D and F though H to the DAPs’ Opposition to Thomson SA’s

 8   Motion to Dismiss shall be sealed.

 9          IT IS SO ORDERED.

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11   DATED:       March 7, 2014
                                                Hon. Samuel Conti
12                                              United States District Judge

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     [PROPOSED] ORDER GRANTING THOMSON          2                        No. 07-5944-SC; MDL No. 1917
     SA’S ADMINISTRATIVE MOTION TO FILE
     UNDER SEAL
